Case 2:01-Cr-20054-BBD Document 101 Filed 04/25/05 Page 1 of 2 Page|D 122

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Pr°b 35 Report and Order Terminating Probation/
(3/98) Supervised Release §§ “;_ §§ !;_‘ _;5 ? § §
Prior to Original Expiration Date

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United States District Court
FOR THE
wESTERN DISTRICT oF TENNESSEE

UNITED STATES OF AMERICA Crim. No. 01 -20054-01 and 01 -203 17-01
V.

Bobby Allen, Sr.

On August 22, 2002, the above named was placed on Supervised Reiease for a period of three (3) years.
l-Ie has complied with the rules and regulations of supervision and is no longer in need of supervision lt is

accordingly recommended that he be discharged from Supervised Release.

Respectfully submitted,

724 L{,£/lr §Btj c_¢
Nieole D. Peterson
United States Probation OHicer

ORDER OF THE COURT

Pursuant to the above report, it is ordered that the defendant be discharged from Supervised Release and

that the proceedings in the case be terminated

Dared this §§ fla day onpM_.¢€_, 2005.

    

Judge

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sTRlCT COURT - WESTERN DISTRCT OFTENNESSEE

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Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

